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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-15100
         ANKURKUMAR J CHAUDHARI

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 04/28/2015.

         2) The plan was confirmed on 07/16/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/30/2018.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 07/06/2018.

         6) Number of months from filing to last payment: 38.

         7) Number of months case was pending: 40.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $20,838.00.

         10) Amount of unsecured claims discharged without payment: $170,682.50.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor            $22,275.73
       Less amount refunded to debtor                         $495.72

NET RECEIPTS:                                                                                $21,780.01


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $3,885.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                      $959.18
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                              $4,844.18

Attorney fees paid and disclosed by debtor:               $115.00


Scheduled Creditors:
Creditor                                    Claim         Claim            Claim       Principal       Int.
Name                              Class   Scheduled      Asserted         Allowed        Paid         Paid
AMERICAN EXPRESS              Unsecured           0.00           NA              NA            0.00        0.00
AMERICAN HONDA FINANCE        Unsecured           0.00           NA              NA            0.00        0.00
ARS ACCOUNT RESOLUTION        Unsecured         886.00           NA              NA            0.00        0.00
ASPIRE                        Unsecured           0.00           NA              NA            0.00        0.00
CDA PONTIAC                   Unsecured         167.00           NA              NA            0.00        0.00
CDA PONTIAC                   Unsecured         489.00           NA              NA            0.00        0.00
Choice Recovery               Unsecured         608.00           NA              NA            0.00        0.00
Commonwealth Financial        Unsecured         858.00           NA              NA            0.00        0.00
EXETER FINANCE CORP           Unsecured      8,545.00     12,981.28        12,981.28      1,566.86         0.00
EXETER FINANCE CORP           Secured       12,829.00     25,058.00        12,077.54     12,077.54    2,765.67
GECRB                         Unsecured           0.00           NA              NA            0.00        0.00
HC PROCESSING CENTER          Unsecured            NA         853.05          853.05        102.96         0.00
HUNTER WARFIELD               Unsecured      1,309.00            NA              NA            0.00        0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured            NA         401.22          401.22          48.43        0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured            NA         619.05          619.05          74.72        0.00
MERRICK BANK                  Unsecured         778.00        520.09          520.09          62.78        0.00
MIDSTATE COLLECTION SOLUTION Unsecured          750.00           NA              NA            0.00        0.00
MIDWEST EMERGENCY ASSOCIATES Unsecured          885.00      1,230.00        1,230.00        148.46         0.00
NORTHWEST COLLECTORS          Unsecured           0.00           NA              NA            0.00        0.00
OAC                           Unsecured         371.00           NA              NA            0.00        0.00
PAYPAL                        Unsecured            NA         159.30          159.30          19.23        0.00
PILU D PATEL                  Unsecured    150,000.00            NA              NA            0.00        0.00
PRA RECEIVABLES MGMT          Unsecured            NA         388.69          388.69          46.92        0.00
T-MOBILE/T-MOBILE USA INC     Unsecured            NA         184.44          184.44          22.26        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                           $12,077.54         $12,077.54         $2,765.67
       All Other Secured                                      $0.00              $0.00             $0.00
 TOTAL SECURED:                                          $12,077.54         $12,077.54         $2,765.67

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $17,337.12          $2,092.62              $0.00


Disbursements:

         Expenses of Administration                             $4,844.18
         Disbursements to Creditors                            $16,935.83

TOTAL DISBURSEMENTS :                                                                      $21,780.01


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 09/05/2018                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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